










Opinion issued November 13, 2003















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00071-CV
____________

SHAKAZULU ASSEGAI, VII,  Appellant

V.

DR. SHIRLEY SEABORN, DR. JACK DANIELS, AND GAYLAND CAPPS, 
Appellees




On Appeal from the 125th District Court
Harris County, Texas
Trial Court Cause No. 2001-58728




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an appeal from a judgment signed January 10, 2003.  Appellant has
invoked the jurisdiction of this Court by filing a notice of appeal, but he  has not paid
the appellate filing fee.  On March 10, 2003, this Court ordered that unless, within 15
days of the date of the order, appellant paid the appellate filing fee, his appeal would
be dismissed.  The 15 days have expired and appellant has not paid the appellate
filing fee.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the appeal.  See Tex. R. App. P. 5; 42.3(b)(c).
PER CURIAM
Panel consists of Justices Hedges, Nuchia, and Higley.




